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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
 Plaintiff,                                   )
                                              )
               v.                             )    No. 2:09 CR 43
                                              )
 STANTON CEPHUS, et al.,                      )
                                              )
 Defendants.                                  )
                           OPINION AND ORDER
       This matter is before the Court on the “Objection: Motion for

 Reconsideration Re: April 9th 2013 Court Order,” filed by Defendant,

 Jovan Demont Stewart, on April 23, 2013 (DE #456). For the reasons

 set forth below, the motion is DENIED.



 BACKGROUND

       Stewart moves this Court to reconsider its order dated April

 9, 2013 (DE #453), which denied Stewart’s “Petition to Unseal

 Documents and Information Re: Warrant and Portions of Grand Jury

 Proceedings,” filed on February 11, 2013 (DE #441). In the instant

 motion, Stewart argues he did try to obtain certain documents, but

 was unsuccessful because they are sealed, and argues that his

 request for documents is not vague because he is seeking:

              [T]he entire context of all informations ever
              obtained, produced, and presented to cause an
              arrest and/or search warrant in this cause, and

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              evidence    logs   and   chronological    report[s]
              describing the sought and seized evidence, and
              describing each event of investigation to obtain,
              produce and present such informations or evidence.
              . . . [and] all testimonial and physical evidence,
              to include all testimony of all any witness,
              victim, law enforcement officer or Agent, Attorney,
              United States Attorney, Assistant United States
              Attorney or any other person, which was used to
              persuade the Grand Jury to issue an indictment or
              supercedent indictment.

 (DE #456, pp. 5-6.)



 DISCUSSION

       The purpose of a Rule 59(e) motion is to bring to the court's

 attention “a manifest error of law or fact, or newly discovered

 evidence.”    Bordelon v. Chicago School Reform Bd. of Trustees, 233

 F.3d 524, 529 (7th Cir. 2000) (citing LB Credit Corp. v. Resolution

 Trust Corp., 49 F.3d 1263, 1267 (7th Cir. 1995)).                   It “does not

 provide a vehicle for a party to undo its own procedural failures,

 and it certainly does not allow a party to introduce new evidence

 or advance arguments that could and should have been presented to

 the district court prior to the judgment.”                Id. (quoting Moro v.

 Shell Oil Co., 91 F.3d 872, 876 (7th Cir. 1996)).                       It is not

 intended as an opportunity to reargue the merits of a case.                      See

 Neal v. Newspaper Holdings, Inc. 349 F.3d 363, 368 (7th Cir. 2003)

 (affirming district court’s decision to deny appellants’ Rule 59(e)

 motion to alter or amend judgment where plaintiff simply reargued

 the merits of his case); see also Ahmed v. Ashcroft, 388 F.3d 247,


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 249 (7th Cir. 2004) (“A motion that merely republishes the reasons

 that had failed to convince the tribunal in the first place gives

 the tribunal no reason to change its mind.”). Moreover, the moving

 party must “clearly establish” a manifest error of law or an

 intervening    change   in    the   controlling      law    or    present     newly

 discovered evidence to succeed under Rule 59(e).                    Romo v. Gulf

 Stream Coach, Inc., 250 F.3d 1119, 1122 n. 3 (7th Cir. 2001).

       In this case, reconsideration is not warranted.                       Stewart

 merely rehashes arguments that he already made in the first motion.

 He puts forth no new evidence.             The Court has already indicated

 that the Government (after receiving two extensions of time) timely

 filed an objection to Stewart’s original motion, which this Court

 properly considered in its analysis. The Court thoroughly analyzed

 Stewart’s     request   for   the    above-referenced          information       and

 documents and concluded it could not certify Stewart was pursuing

 a matter not frivolous or that the requested information was needed

 to decide a specific issue in his alleged section 2255 motion,

 which he has not yet filed, and cited case law finding the

 defendant must first have a section 2255 application pending before

 requesting documents from the Court.            See, e.g., United States v.

 Connors, 904 F.2d 535, 536 (9th Cir. 1990); Walker v. United

 States, 424 F.2d 278, 278-79 (5th Cir. 1970); United States v.

 Lewis, No. 94-3158, 1994 WL 563442, at *1-*2 (10th Cir. Oct. 14,

 1994).


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       Additionally, the Court found Stewart’s request for grand jury

 evidence and transcripts did not meet the rigorous test to obtain

 that material, given its usual secrecy.              See, e.g., United States

 v.   Edelson,   581   F.2d   1290,   1291     (7th   Cir.   1978)    (finding     a

 defendant seeking the production of grand jury transcripts must do

 more than make general unsubstantiated or speculative allegations

 of impropriety to prevail under Rule 6(e)(3)(c)(ii) (the former

 rule)).   And finally, the Court noted that Stewart’s conviction at

 trial moots any attack he now may be trying to make on the

 sufficiency of the evidence presented to the grand jury.                        See

 United States v. Rosario, 234 F.3d 347, 352 (7th Cir. 2000) (noting

 any such error in the presentation of evidence before the grand

 jury would be harmless given the jury conviction at trial which

 indicates a proper grand jury proceeding would have still yielded

 an indictment).

       The Court stands by its previous ruling; therefore, the

 instant Motion to Reconsider is DENIED.



 DATED: May 1, 2013                   /s/ RUDY LOZANO, Judge
                                      United States District Court




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